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 1                                                                     The Honorable James L. Robart
 2

 3

 4
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 5                             WESTERN DISTRICT OF WASHINGTON
 6

 7   Joseph J. Hesketh III,
     on his behalf and on behalf of other similarly      Case No: 2:20-01733- JLR
 8   situated persons

 9                  Plaintiff,

10                  v.                                   DECLARATION OF CHRISTINA L HENRY
                                                         IN SUPPORT OF PLAINTIFF’S MOTION
11   Total Renal Care, Inc, on its own behalf and on     TO FILE A SECOND AMENDED
     behalf of other similarly situated persons,         COMPLAINT AFTER DISCOVERY
12
                    Defendants.
13                                                       NOTE ON MOTION CALENDAR:
                                                         APRIL 23, 2021
14

15

16          I, Christina L Henry, state the following:

17                  I am one of the co-counsel for the Plaintiff and the similarly situated Plaintiff’s

18   Class Members (“Plaintiff”) and I have personal knowledge of the matters in this declaration.
19
                    On behalf of the Plaintiff, I served and received written Interrogatories and
20
     Requests for Production on Defendant Total Renal Care, Inc. (“Total”) and received responses
21
     on February 18, 2021 and after a discovery conference, received supplemental discovery
22
     responses on March 19, 2021.
23

24                  In response to written discovery propounded, the Defendant produced limited

25   document production and self-serving responses that proved inconsistent with testimony given
26   by various witnesses in oral depositions.


      DECLARATION OF CHRISTINA L HENRY IN                             HENRY & DEGRAAFF, P.S.
      SUPPORT OF PLAINTIFF’S MOTION TO FILE A                             787 MAYNARD AVE S
                                                                     SEATTLE, WASHINGTON 98104
      SECOND AMENDED COMPLAINT AFTER                                    telephone (206) 330-0595
      DISCOVERY - 1                                                         fax (206) 400-7609
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                    Although the Plaintiff, in an attempt to clarify the role between DaVita, Inc.
 1

 2   (“DaVita”) and Total through written discovery, the Plaintiff was unable to pin down their

 3   relationship and DaVita’s involvement, in any.

 4                  Plaintiff then noticed depositions for six Rule 30 witnesses disclosed by the
 5
     Plaintiff in their initial disclosures for those persons with knowledge of matters relevant to
 6
     allegations in the Complaint.
 7
                    Soon after discussing dates for the depositions, Total filed their Rule 12(c) motion
 8
     for judgment on the pleadings, with negotiated deposition dates scheduled for the Tuesday after
 9

10   the Plaintiff’s response date for the motion.

11                  A Rule 30(b)(6) deposition notice for DaVita, Inc. was also served on Total on
12   March 8, 2021 which counsel for Total agreed to accept but later determined had to be reserved
13
     by subpoena, since DaVita, Inc. is a non-party.
14
                    Although the Plaintiff attempted to engage in deposition topics for the DaVita’s
15
     Rule 30(b)(6) deposition topics earlier. Total’s counsel indicated that there would be more than
16

17   one deponent needed for Total and then on March 26, 2021 confirmed that objections to the Rule

18   30(b)(6) would be forthcoming.

19                  Thereafter, on March 31, 2021, Total’s counsel informed the Plaintiff that they
20   would accept service for DaVita but required that a formal subpoena be served. Additionally,
21
     Plaintiff’s communicated that she was open to further discussions about the Defendant’s Class,
22
     suggesting further discussions about the relationship between DaVita and Total. See Exhibit
23
     attached as Ex. A.
24

25

26



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                       On April 3, 2021, after a week where the Plaintiff conducted six depositions of
 1

 2   Total employees, the Plaintiff, through co-counsel attempted to engage with Plaintiff’s lead

 3   counsel about the Defendants’ Class. See Exhibit attached as Ex. B.

 4                     Thereafter, on Monday, April 5, 2021, the Plaintiff served a subpoena on DaVita,
 5
     Inc., and learned that Total’s lead counsel would be out of the country for the week, leaving
 6
     Plaintiffs with no ability to discuss the issues surrounding the Defendants Class until her return.
 7
     See Exhibit attached as Ex. C.
 8
                       Attached hereto as Exhibit D is the rough transcript from the Court Reporter for
 9

10   the Deposition transcript for Carol Strong that was taken on April 1, 2020 at 3:00 pm via zoom.1

11                     Attached hereto as Exhibit E is the rough transcript from the Court Reporter for
12   the Deposition transcript for Toni Prockish that was taken on April 2, 2020 at 2:00 pm via zoom.
13
                       Attached hereto as Exhibit D is the rough transcript from the Court Reporter for
14
     the Deposition transcript for Jennifer Bosl that was taken on March 30, 2021 at 9:00 am via
15
     zoom.
16

17                     Attached hereto as Exhibit G is the rough transcript from the Court Reporter for

18   the Deposition transcript for Shawn Zuckerman that was taken on April 1, 2020 at 9:00 am via

19   zoom.
20                     Attached hereto as Exhibit H is the rough transcript from the Court Reporter for
21
     the Deposition transcript for Oliver McKinstry that was taken on April 2, 2020 at 9:00 am via
22
     zoom.
23

24

25
              1
               Note, I have contacted the Court Reporter and she has agreed to provide cover pages for the rough
26   deposition transcripts attached hereto to clarify the nature of the depositions. As soon as they are available, I will
     provide a Praecipe for these transcripts that includes coversheets.


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                    The Proposed Second Amended Complaint is attached hereto as Exhibit I.
 1

 2                  A redlined version of the Proposed Second Amended Compliant is attached

 3   hereto as Exhibit J.

 4          I declare under penalty of perjury under the law of the State of Washington and the laws
 5
      of the United States that the foregoing is true and correct.
 6
                    Executed this 8th day of April, 2021, at Bothell, WA.
 7

 8
                                                      _/s/ Christina L Henry
 9                                                    Christina L Henry, WSBA# 31273

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                                                                     SEATTLE, WASHINGTON 98104
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      DISCOVERY - 4                                                         fax (206) 400-7609
